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Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 2 of 23 PageID #:4077
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 3 of 23 PageID #:4078
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 4 of 23 PageID #:4079
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 5 of 23 PageID #:4080
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 6 of 23 PageID #:4081
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 7 of 23 PageID #:4082
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 8 of 23 PageID #:4083
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 9 of 23 PageID #:4084
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 10 of 23 PageID #:4085
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 11 of 23 PageID #:4086
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 12 of 23 PageID #:4087
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 13 of 23 PageID #:4088
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 14 of 23 PageID #:4089
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 15 of 23 PageID #:4090
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 16 of 23 PageID #:4091
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 17 of 23 PageID #:4092
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 18 of 23 PageID #:4093
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 19 of 23 PageID #:4094
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 20 of 23 PageID #:4095
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 21 of 23 PageID #:4096
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 22 of 23 PageID #:4097
Case: 1:16-cv-09930 Document #: 256 Filed: 11/10/21 Page 23 of 23 PageID #:4098
